
By the Court.
Although it would be convenient and proper to make the entry in these cases moré special, yet the nature of the action appears from the subsequent proceedings, and the act is in terms complied with.
Mr. Ewing, then urged the reversal of the judgment on the ground, that the first process in this case, was by warrant, when it ought to have been by summons, as the defendant could not be arrested in a qwj, tarn action.
By the Couet. — This objection should have been made before the justice; it is too late now.1
It was then said that the judgment being in general terms in favor of the plaintiff, was error; that it [*] should have been in favor of the plaintiff for one half, as owner of the land, and the other half as the prosecutor.2
By the Court. — The plaintiff is entitled to all the money recovered. The judgment is well entered.
Judgment affirmed.
Wall, for the defendant.
Cited in English v. Bonham, 2 Harr. 350; Steward v. Sears, 7 Vr. 175.

 Tidd. 91.


 See 7 Halst. 93.

